Case No. 1:16-cv-03079-MSK-NRN Document 60-6 filed 05/04/18 USDC Colorado pg 1 of
                                      9
                                                                             1


        1               IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
        2
             Civil Action No. 1:16-cv-03079-MSK-MJW
        3
             ESTATE OF NATE CARRIGAN,
        4    JOHN CARRIGAN, MELISSA CARRIGAN,
             and KOLBY MARTIN,
        5
             Plaintiffs,
        6
             v.
        7
             PARK COUNTY SHERIFF'S OFFICE,
        8    SHERIFF FRED WEGENER, in his
             official and individual capacity,
        9    and MARK HANCOCK, in his official
             and individual capacity,
       10
             Defendants.
       11    ______________________________________________________

       12    DEPOSITION OF: WELLES E. TONJES - September 13, 2017
             ______________________________________________________
       13
                          PURSUANT TO NOTICE, the deposition of
       14    WELLES E. TONJES was taken on behalf of the Plaintiffs
             at 501 South Cherry Street, Suite 920, Denver,
       15    Colorado 80246, on September 13, 2017, at 9:09 a.m.,
             before Darcy Curtis, Registered Professional Reporter
       16    and Notary Public within Colorado.

       17

       18

       19

       20

       21

       22

       23

       24

       25   Hunter + Geist, Inc.
             303.832.5966          1900 Grant Street, Suite 1025              www.huntergeist.com
             800.525.8490          Denver, CO 80203                           scheduling@huntergeist.com


                                   Your Partner in Making the Record

                                          EXHIBIT 6
                       Court Reporting, Legal Videography, and Videoconferencing
 Case No. 1:16-cv-03079-MSK-NRN Document 60-6 filed 05/04/18 USDC Colorado pg 2 of
                                       9
                                   WELLES E. TONJES - 9/13/2017
                  Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                        73                                                            75
 1   right or wrong. And I would always respond back,          1         Q. What did you tell the sheriff on
 2   Captain, that you know if it's unethical, immoral,        2   February 16 with respect to the eviction plan for
 3   illegal, I'm going to say something. This was the         3   Martin Wirth?
 4   kind of stuff that -- that's why it didn't surprise       4         A. The sheriff had sent out an e-mail asking
 5   me.                                                       5   myself or at that time Sergeant Wohlers if we had any
 6         Q. What do you mean, it didn't surprise you?        6   information on the upcoming eviction of Martin Wirth.
 7         A. What they did when they kicked the door.         7   I responded back and informed the sheriff. I went up
 8         Q. Okay. So based on the information that           8   to his office on February 16 and I was there probably
 9   you have, do you have any information that Gore --        9   for a half hour, maybe 45 minutes. I don't think it
10   that would suggest to you that Gore did not give the     10   was 45 minutes, but I'm not real sure.
11   order to Hancock not to enter the structure?             11         Q. But in the 30-minute range, you met with
12         A. No, because Monte Gore told me that he          12   the sheriff?
13   had told Hancock not to enter the structure.             13         A. Yeah, in his office.
14         Q. Is it possible Monte Gore was being             14         Q. What did you articulate or talk about
15   untruthful with you?                                     15   with the sheriff on February 16 with respect to the
16         A. I don't believe so, only because of the         16   Wirth eviction?
17   fact that the way it came up was that I had also         17         A. He had questions as to if the eviction
18   instructed Corporal Carrigan and I also advised the      18   was going to occur. We had found out on that date
19   sheriff and Captain Hancock that all we were going to    19   that the eviction had not been posted on the 16th yet.
20   do is knock on the door, and when Wirth told us, you     20   The eviction company, the law firm and the eviction
21   know, go fly a kite, we were going to say goodbye and    21   company, were wanting to get the eviction dealt with
22   leave.                                                   22   and handled. When we found out it hadn't been posted,
23         Q. So let me back that up a little bit here.       23   I had contacted a deputy to go to the administrative
24   You're saying that you instructed Captain Hancock and    24   assistant and get a copy of the eviction and go post
25   the sheriff that all you were going to do is knock on    25   it at Martin Wirth's house. I had told the sheriff

                                                        74                                                            76
 1   the door and leave?                                       1   that -- because we had been working on when we were
 2        A. I advised them that that's what I had             2   going to get this done. It seemed to me there was
 3   advised the deputies to do.                               3   like one or two other dates prior to that where we
 4        Q. When did you advise Captain Hancock and           4   couldn't get a date in line with the lockout company
 5   the sheriff of that?                                      5   and the moving company when they would have time and
 6        A. Okay. I advised the sheriff of that on            6   we would have deputies. Okay. Big thing being
 7   February 16.                                              7   manpower, because Wednesdays was when we did it. And
 8        Q. Okay.                                             8   to pull deputies off during the week on like Sunday,
 9        A. And I advised -- Hancock and I talked             9   Monday, or Tuesday or Thursday, Friday, or Saturday,
10   about it prior. I don't know what date, but I had        10   would deplete our manpower, so we had the overlap day
11   also refreshed his memory the morning of the incident,   11   on Wednesday.
12   February 24.                                             12            So we posted it on the 16th. The sheriff
13        Q. Before we go any further here,                   13   knew we were posting it. I had told the sheriff that
14   February 16, so about eight days before the event,       14   I kind of had talked to the -- I think she's a legal
15   you're saying you briefed the sheriff?                   15   assistant. I don't remember her name. I did give my
16        A. I did.                                           16   attorney her name, and I think I gave the name of the
17        Q. On what, on the plan?                            17   guy that was handling the eviction, the lockout
18        A. Yes, as well as --                               18   company. But I had told the sheriff that I had the
19            MR. SCHIMBERG: Object to form.                  19   plan for four deputies to respond and that they were
20            THE DEPONENT: Sorry.                            20   going to go up and knock on the door -- and not all
21            MR. SCHIMBERG: No, you're all right.            21   four at once, obviously. You would strategically put
22        Q. (BY MR. SISSON) Let me be more specific.         22   them someplace so they could keep eyes on the place --
23   Did you brief the sheriff on the eviction plan for       23   and that if Wirth told them, hey, I'm not leaving,
24   Martin Wirth?                                            24   that they were going to leave and then they were going
25        A. I did.                                           25   to go let the law firm or the mortgage company know

                                                                                                     19 (Pages 73 to 76)

                                        Hunter + Geist, Inc.
                                          EXHIBIT
                      scheduling@huntergeist.com    6
                                                 * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-6 filed 05/04/18 USDC Colorado pg 3 of
                                       9
                                   WELLES E. TONJES - 9/13/2017
                  Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                        77                                                            79
 1   that they needed to get the failure to comply. It was     1   came up about Magnini and how that had gotten handled.
 2   during that conversation that the sheriff reminded        2         Q. Okay. Basically you're saying that you
 3   me -- because I had completely forgot -- that I had       3   told the sheriff point-blank, if Wirth doesn't come to
 4   this situation with Wirth back in 2014.                   4   the door or he refuses to leave, you're going to
 5            It was also in that conversation that the        5   withdraw and then you're going to fall into step
 6   sheriff and I talked about the Magnini situation and      6   three, which is the arrest warrant?
 7   how we waited for Magnini to be accessible, or            7         A. Yes.
 8   whatever you want to call it, and we could effect an      8         Q. Did the sheriff agree or disagree with
 9   arrest. It was also in that conversation that I gave      9   the plan?
10   the sheriff the phone number to the law firm and the     10         A. He agreed with it.
11   name and he called the lady and he asked the legal       11         Q. Did he say anything about, you know, the
12   assistant, you know, the questions as far as . . .       12   plan? Did he say it was a good plan, bad plan? Did
13         Q. So on February 16, eight days before the        13   he make any comments whatsoever?
14   eviction, did the sheriff ask anything with respect to   14            MR. SCHIMBERG: Form.
15   why four deputies?                                       15         A. Only that it was going to fall along the
16         A. Well, we knew that Wirth was an agitator.       16   same lines as what happened with Magnini.
17   Okay. So four deputies would -- you know, let's just     17         Q. (BY MR. SISSON) Okay. Let me give you
18   say anticipating that he did get aggressive, four        18   a -- I guess here is where I'm confused a little bit.
19   deputies would have allowed them to withdraw and cover   19   Let me give you a transcript.
20   each other. And if it came to the point where it         20            (Deposition Exhibit 18 was marked.)
21   became an aggressive altercation, we would have been     21         Q. This is a transcript of the deposition of
22   able to call in for backup.                              22   Fred Wegener on June 8, 2017. Okay?
23         Q. Okay. Your prior testimony was --               23         A. Okay.
24   because this is the -- correct me if I'm wrong here --   24         Q. And I'll just tell you it's not the
25   second step. February 16 you post the three-day          25   entire transcript. I just printed out the relevant

                                                        78                                                            80
 1   notice, right?                                            1   pages.
 2         A. Yes.                                             2        A. Okay.
 3         Q. But you're telling the sheriff on                3        Q. Okay. So let's look at -- you talked
 4   February 16 with respect to the second step, we're        4   about you reminded the sheriff of the plan again on
 5   going to have four deputies because Wirth is a danger?    5   February 24?
 6         A. Yeah, because we don't know what to              6        A. I don't think I did.
 7   anticipate from him. I used the term volatile and I       7        Q. Or did you say you articulated it to
 8   used the term loose like a cannon or something like       8   Hancock?
 9   that. I can't remember exactly.                           9        A. I did to Hancock, because Hancock called
10         Q. Okay. Would you say that, I mean, Wirth         10   me that morning and that's when he told me that I did
11   was dangerous?                                           11   not need to respond on the eviction. He was going to
12         A. So --                                           12   handle it.
13            MR. SCHIMBERG: Form.                            13        Q. So was Hancock in the meeting with the
14            THE DEPONENT: Sorry.                            14   sheriff on February 16?
15            MR. SCHIMBERG: It's all right.                  15        A. No.
16         A. -- I didn't know about the homicide. I          16        Q. Just you and the sheriff?
17   did not know how dangerous he was. I figured he was      17        A. Yes.
18   dangerous as to the kind that would, you know, kick,     18        Q. Anybody else?
19   bite, and scratch and stuff like that.                   19        A. Don't believe so other than the lady that
20         Q. (BY MR. SISSON) You articulated this            20   was on the phone from the law firm.
21   plan to the sheriff on February 16?                      21        Q. Okay. So let's go to page 124 of this
22         A. I did.                                          22   deposition.
23         Q. And did the sheriff say, no, we're              23        A. Okay.
24   actually going to go and breach the structure?           24        Q. I want to read a few lines to you to kind
25         A. No, because that's when the discussion          25   of give you some context.

                                                                                                     20 (Pages 77 to 80)

                                        Hunter + Geist, Inc.
                                          EXHIBIT
                      scheduling@huntergeist.com    6
                                                 * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-6 filed 05/04/18 USDC Colorado pg 4 of
                                       9
                                   WELLES E. TONJES - 9/13/2017
                  Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                        81                                                           83
 1          A. Okay.                                           1   was changing what we had -- what I had initially told
 2          Q. So we'll just start here at -- I guess          2   the sheriff our intentions were doing. All of sudden
 3   we'll just go back to line 4. Mr. Elkus is another        3   it went from four deputies to six or eight.
 4   lawyer in my firm.                                        4        Q. Right. Here in this deposition, right --
 5          A. Right.                                          5        A. Uh-huh.
 6          Q. Line 4, "Okay. And who gave him that            6        Q. Correct me if I'm wrong, on the 16th,
 7   task in handling the eviction? Answer, It's -- you        7   eight days before the event, you articulated the plan
 8   would say it probably comes from -- it would be           8   to the sheriff?
 9   directed by me to take care of those things." Line 8,     9        A. I did.
10   "Okay. So do you recall giving specific direction        10        Q. So in this deposition, he's saying he
11   from Captain Hancock to do the eviction or handle the    11   didn't know what the plan was?
12   eviction of Mr. Wirth? Answer, No. No." Line 12,         12        A. He didn't know what Hancock's plan was,
13   "Okay. Was Captain Hancock the patrol commander that     13   maybe. He knew what the plan that him and I had
14   day? Answer, Yes." Line 15, "Okay. So that's why he      14   talked about.
15   was handling the eviction of Martin Wirth, is because    15        Q. Okay.
16   he was the patrol commander? Answer, Yes." Line 19,      16        A. And so I have no idea what Hancock did
17   "Okay. Now, I apologize if this is redundant, but if     17   once he told me that I could stand down and I did not
18   you know, what was the plan that was devised in          18   need to be involved in it.
19   regards to the eviction of Martin Wirth? Answer,         19        Q. So let's go to that. Because that was, I
20   I . . ." Line 24, "Do you know?" Answer, at line 24,     20   think, on you said the morning of February 24 --
21   "No, I don't know."                                      21        A. Yes.
22            Do you see that?                                22        Q. -- you had a conversation with Captain
23          A. I do.                                          23   Hancock?
24          Q. Do you believe that's truthful?                24        A. Yes. He had called me.
25             MR. SCHIMBERG: Object to form.                 25        Q. Oh, he called you?

                                                        82                                                           84
 1   Foundation.                                               1         A. Yes.
 2             MR. GOLDFARB: Form.                             2         Q. Prior to that phone call, were you
 3          A. Okay. I guess, can I get verbal on              3   planning on being one of the four people at the
 4   explaining it?                                            4   eviction?
 5          Q. (BY MR. SISSON) Answer it however you           5         A. No. I had planned on going over there to
 6   want to answer it. These guys may object, but just go     6   cover as a supervisor, but I didn't plan on -- you
 7   ahead and articulate.                                     7   know, if I could break free from my duties, but then
 8          A. Okay. So when Hancock called me, it was         8   when he called and said that he was going to handle
 9   a little after 6 a.m. that morning to let me know he      9   it, so be it. You're the Captain. I'm just a senior
10   was going to handle the eviction. At that time I was     10   sergeant.
11   under the belief -- because I had briefed him and I      11         Q. Okay. Did he tell you why he was going
12   had briefed Corporal Carrigan prior to that about four   12   to handle it?
13   deputies doing the eviction and knocking on the door,    13         A. No.
14   you know, Mr. Wirth we need you to move and so on and    14         Q. Have you ever seen Captain Hancock handle
15   him telling us to go pound sand. Captain Hancock         15   an eviction before?
16   called me and told me that he would be handling the      16         A. No.
17   eviction. I did not need to be involved -- because I     17         Q. Can you think of any reason why Captain
18   was in Fairplay at the headquarters at the time -- I     18   Hancock was handling this eviction?
19   could stay in Fairplay and do whatever supervisory       19         A. A reason that I know of or a reason that
20   projects I had to do.                                    20   I think?
21             It was -- now, this I'm guessing. Okay.        21         Q. Either one.
22   It had to be somewhere around 8:30, 9:00 o'clock that    22         A. Okay.
23   I started hearing more deputies calling out at the       23             MR. GOLDFARB: Before you answer, sorry,
24   Bailey substation. And it was at that time that I        24   objection, foundation. Go ahead.
25   realized or had reason to believe that Mark Hancock      25         Q. (BY MR. SISSON) Go ahead.

                                                                                                    21 (Pages 81 to 84)

                                        Hunter + Geist, Inc.
                                          EXHIBIT
                      scheduling@huntergeist.com    6
                                                 * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-6 filed 05/04/18 USDC Colorado pg 5 of
                                       9
                                   WELLES E. TONJES - 9/13/2017
                  Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                        89                                                            91
 1   I say, path of least resistance.                          1   at the bottom of the driveway there and the thing that
 2         Q. (BY MR. SISSON) I'm just trying to               2   came out of their mouth was, Sarg, we weren't supposed
 3   understand why he would disobey a direct order in this    3   to make entry, and that came from all three of them.
 4   situation.                                                4   And these guys were scared. They just saw their
 5            MR. GOLDFARB: Objection. Foundation.             5   corporal get killed.
 6         Q. (BY MR. SISSON) Do you have any                  6         Q. Who are these three deputies?
 7   thoughts?                                                 7         A. It was Jeremy Lowrance, Travis Threlkel,
 8         A. I have no idea. I don't know if he got           8   and Dave Leffler.
 9   permission from the sheriff to change the plan or not.    9         Q. Did you ever have any conversation with
10   I don't know. Once he told me I was out of the loop,     10   any of these three deputies before the eviction, the
11   the only other contact I had after that was when I       11   Wirth eviction on February 24, about the plan?
12   heard the deputies calling out at the Bailey             12         A. I don't believe so, because all of my
13   substation and I called the Bailey substation wanting    13   communication went through Corporal Carrigan.
14   to know what the heck was going on.                      14         Q. So you show up on scene how soon after
15         Q. What did they say?                              15   the actual shooting? Do you know?
16         A. Well, it was a short conversation and it        16         A. The way I was --
17   was with Nate. And Nate said that he was scared and      17            MR. SCHIMBERG: I'm sorry. Hold the
18   that I should come over there. And I said, okay. I       18   phone. Could you read that back? I'm sorry.
19   see where this is going, because I had my ideas. And     19            (The last question was read back as
20   that was the last conversation I had with Nate.          20   follows: "So you show up on scene how soon after the
21         Q. How soon was that or where was that in          21   actual shooting? Do you know?")
22   terms of proximity to the actual shooting?               22            MR. SCHIMBERG: I'm sorry, sir.
23         A. It was probably -- I don't know exactly,        23            THE DEPONENT: That's fine.
24   but probably 20 minutes prior, maybe more.               24         A. I have no idea. I know that once I heard
25         Q. Okay. So based on your knowledge of the         25   things turned to crap over there, I stopped what I was

                                                        90                                                            92
 1   event, was there any hostage situation?                   1   doing and headed out the door. And I would imagine I
 2        A. No.                                               2   probably was there within a half an hour.
 3        Q. Was there any reason at all that you can          3         Q. (BY MR. SISSON) Okay. And unsolicited
 4   think of to go and enter that structure?                  4   all three of these people told you that they shouldn't
 5           MR. GOLDFARB: Objection. Form.                    5   have entered the structure?
 6   Foundation.                                               6         A. Right. That's what they were told they
 7           MR. SCHIMBERG: Join.                              7   were not going to do by Captain Hancock.
 8        A. Absolutely not.                                   8         Q. Captain Hancock told them that they were
 9        Q. (BY MR. SISSON) To your knowledge, was            9   not to enter the structure?
10   there any shooting by Mr. Wirth prior to them entering   10         A. That they were not going to enter the --
11   the structure?                                           11   he didn't tell them not to. He told them they were
12        A. To my knowledge, no.                             12   not going to. This was going to be go over there and
13        Q. Okay.                                            13   they were not going to enter the structure.
14        A. When I showed up at the scene, okay, I           14         Q. Did you ask him then why did you enter
15   engaged two people at the scene. Well, I take that       15   the structure?
16   back. I engaged four people at the scene. The first      16         A. Yeah, because they got an order to enter
17   one was Sheriff Wegener. And he told me to keep the      17   the structure, to breach the door from Captain
18   one neighbor away from him, because the neighbor         18   Hancock.
19   across the road was being very vocal about what had      19         Q. Okay.
20   occurred.                                                20         A. And Nate went first.
21        Q. Is that Rick Gabrisch?                           21         Q. Did they tell you why they got that order
22        A. I have no idea what the guy's name was.          22   from Captain Hancock?
23   As soon as he told me that, then those individuals --    23         A. No.
24   they must have heard him or something, because they      24         Q. Okay.
25   stepped back. But then I had three deputies meet me      25         A. I know that they had said that all Wirth

                                                                                                     23 (Pages 89 to 92)

                                         Hunter + Geist, Inc.
                                           EXHIBIT
                       scheduling@huntergeist.com    6
                                                  * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-6 filed 05/04/18 USDC Colorado pg 6 of
                                       9
                                   WELLES E. TONJES - 9/13/2017
                  Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                        93                                                            95
 1   did was he had come out -- the way the house was set      1        Q. So Leffler, Lowrance, and Threlkel --
 2   up was when you walked up to the house, the entry         2        A. Yes.
 3   door, as you face the house, would have been on the       3        Q. -- they all told you that they were not
 4   left-hand side that goes into the primary residence.      4   supposed to make entry; they were all scared and shook
 5   And then there was like -- I don't know if it's a         5   up, right?
 6   garage or part of the built-out basement and then on      6        A. Yes.
 7   top of that was like a deck area and that that was        7        Q. Did they tell you anything else on the
 8   where he had come out and told him he wasn't going to     8   date of the eviction?
 9   cooperate and he went back inside.                        9        A. No. Because my concern was to get them
10         Q. Okay.                                           10   calmed down and get them down to the Bailey substation
11         A. But I don't know the exact words that           11   where the investigators would have been. And also, I
12   were said.                                               12   was anticipating the victim advocates would be down
13         Q. Okay. Did you have any other                    13   there and would help these guys get through this.
14   conversation with Sheriff Wegener on the date of the     14        Q. Now, my understanding is there was a
15   incident?                                                15   briefing the morning of the eviction with some of
16         A. No, because he directed me to -- we had         16   these deputies and Captain Hancock. Do you have any
17   Colorado Bureau of Investigations show up and we had I   17   knowledge of that briefing?
18   want to say it's the 11th or 13th Judicial District      18        A. Only after the fact.
19   investigators show up from the district attorneys.       19        Q. What's your knowledge of that briefing?
20   They had called me. They had showed up, and I            20        A. Well, after the shooting all went down
21   basically at that time took on the role of what was      21   and stuff like that and I had gone to the command post
22   going on at the church up there, which was our command   22   where other law enforcement agencies were responding
23   post, what was going on at the scene of the shooting,    23   and I had gone to the scene and I went back down to
24   and what was going on down at the Bailey substation,     24   the Bailey substation, when I walked in -- okay. The
25   which I didn't spend much time down there. But I         25   Bailey substation has got two report-writing rooms for

                                                        94                                                            96
 1   can't remember if it was CBI, Colorado Bureau of          1   the deputies, one that's up front and one that's in
 2   Investigations, the investigators there, or if it was     2   the back. And they primarily would use the one in the
 3   the DA's office, they wanted the deputies that were on    3   back. And I walked in and there was a dry-eraser
 4   scene or involved to respond down to the Bailey           4   board with an exterior diagram of Wirth's house. And
 5   substation to be interviewed.                             5   I saw the X's around the house where the deputies were
 6         Q. Okay. Let me back up a little bit. Did           6   to be assigned. That's when I realized that they had
 7   you ever know anything about the comments Rick            7   actually did a -- I don't know -- incident diagram.
 8   Gabrisch made to the Park County Sheriff's Office with    8         Q. Look at Exhibit 8.
 9   respect to Martin Wirth prior to the eviction?            9         A. Excuse me?
10         A. No.                                             10         Q. Exhibit 8 in the binder.
11         Q. Did you hear any of the radio traffic           11         A. Oh, 8.
12   between any kind of conversation between Hancock and     12         Q. Is this the --
13   Sheriff Wegener on the date of the eviction?             13         A. That's not the diagram I saw.
14         A. Not that I remember. And here is why.           14         Q. That's not the diagram?
15         Q. Okay.                                           15         A. No. It was of the actual house.
16         A. The eviction was handled on two different       16         Q. Okay. Sort of like a picture of the
17   channels, our primary channel and then I want to say     17   house or a handwritten thing of the house?
18   they went to PEC 4. And that's P-E-C 4. And I think      18         A. It was just on a dry-eraser board. It
19   that's where they had taken the radio traffic, and       19   was just drawn and it was basically just the outside
20   then once the shooting started, it started going over    20   walls. There were no interior walls drawn.
21   to the main channel, which is the one I was on. I was    21         Q. Okay. Based on seeing that on the dry-
22   not on PEC 4. I think it's PEC. It might be TAC.         22   erase board, what did that mean to you?
23         Q. TAC of PEC 4?                                   23         A. To me it didn't look like an eviction.
24         A. Yeah. PEC or TAC, yeah. I don't                 24   It looked like they were surrounding the place to
25   remember.                                                25   anticipate or to have an aggressive entry or an

                                                                                                     24 (Pages 93 to 96)

                                         Hunter + Geist, Inc.
                                           EXHIBIT
                       scheduling@huntergeist.com    6
                                                  * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-6 filed 05/04/18 USDC Colorado pg 7 of
                                       9
                                   WELLES E. TONJES - 9/13/2017
                  Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                       129                                                           131
 1   deputies and tell them X, Y, and Z?                       1            MR. SCHIMBERG: No, that's okay. Just
 2        A. I would have just told them the sheriff           2   want to make the record clear.
 3   had handled it.                                           3         Q. (BY MR. SISSON) So February 22 you have
 4        Q. Did he tell you how the sheriff handled           4   this conversation with Hancock?
 5   it?                                                       5         A. Yeah, I think it would have been then.
 6        A. Nope.                                             6         Q. Right. I know you're not exactly a
 7        Q. To your knowledge, did something else             7   hundred percent sure on what day. Are you positive
 8   change in terms of the offenses or anything like that?    8   that you had another conversation with Hancock prior
 9        A. Nope. Everything was -- the guy was               9   to February 24 about Wirth being dangerous?
10   issued a citation and was let go.                        10         A. Yeah, because we talked about the
11        Q. Okay. So back to your complaint here, I          11   eviction. Because the reason we talked about the
12   just want to make sure I understand this. After the      12   eviction was because we were going to try to do it on
13   January 20 events in Jeffco, you had a conversation      13   the 17th, but we found out on the 16th it hadn't been
14   with Hancock wherein you raised the concerns about       14   posted. So then the sheriff wanted to know if we
15   Wirth's threats to Hancock?                              15   could do it on the 18th, which would have been the
16        A. His threats to Hancock, you mean --              16   Thursday, but we didn't have enough deputies and the
17        Q. I'm sorry. I'm sorry. I stated that              17   bank had a conflict, I think, the move-out company and
18   very poorly. After the January 20 Wirth event, the       18   stuff.
19   deputies complained and then you had a conversation      19         Q. Okay.
20   one on one with Hancock where you said the deputies      20         A. Which would have been the day that we
21   are concerned about the --                               21   only had four -- we only have four deputies that work
22        A. -- way it was handled with the summons           22   the shift, two on one side of Kenosha, two on the
23   being issued.                                            23   other side of Kenosha.
24        Q. And specifically the Wirth threats?              24         Q. Anything else about the meeting, the
25        A. Yes.                                             25   conversation, you had with Hancock about Wirth being

                                                       130                                                           132
 1        Q. He says he's going to look into it. He            1   dangerous prior to February 24?
 2   doesn't come back to you.                                 2        A. No. It was just like updating him.
 3        A. No. I go to him.                                  3        Q. Did you ever hear Hancock articulate to
 4        Q. You go to him. And then he says the               4   anyone else about Wirth being dangerous?
 5   sheriff handled it?                                       5        A. No.
 6        A. Yeah.                                             6        Q. Did you have another -- you said you
 7        Q. But you don't get any --                          7   refreshed Hancock on February 24, the morning of?
 8        A. I have no idea what the sheriff did. He           8        A. When he called me.
 9   might have talked to Wohlers or whatever.                 9        Q. Okay. So we have the complaint about the
10        Q. Then sometime after February 16, but             10   way the January 20 event was handled with Hancock?
11   before the eviction, you had another conversation with   11        A. Right.
12   Hancock where you articulated Wirth is highly volatile   12        Q. You have the February 22 conversation
13   and potentially dangerous?                               13   about Wirth being dangerous with Hancock?
14        A. Yes, which probably, I'm assuming -- not         14        A. I'm guessing it was the 22nd, but that
15   assuming, but I would say that probably would have       15   would make sense.
16   happened on the 22nd.                                    16        Q. We don't know the date --
17        Q. Why do you think it was the 22nd?                17        A. Right.
18        A. Because Monday was kind of a day to catch        18        Q. -- but we know it was before February --
19   up where he would come to work and I would let him       19        A. We know it was before the 24th, yes.
20   know the stuff that had happened over the weekend,       20        Q. And then the morning of the 24th before
21   kept him apprised of everything that was going on.       21   the eviction, you have another conversation with
22           MR. SCHIMBERG: Excuse me. Are we                 22   Hancock about Wirth being dangerous?
23   talking February?                                        23        A. Right. When he called me and I told him
24           THE DEPONENT: Yes. I'm sorry. Yes,               24   that because of the way the situation was with Wirth
25   February 22.                                             25   and we didn't want to have a confrontation, it was

                                                                                                  33 (Pages 129 to 132)

                                        Hunter + Geist, Inc.
                                          EXHIBIT
                      scheduling@huntergeist.com    6
                                                 * 303-832-5966 * 800-525-8490
 Case No. 1:16-cv-03079-MSK-NRN Document 60-6 filed 05/04/18 USDC Colorado pg 8 of
                                       9
                                   WELLES E. TONJES - 9/13/2017
                  Estate of Nate Carrigan, et al. v. Park County Sheriff's Office, et al.

                                                       133                                                           135
 1   knock on the door and see you later.                      1   Wirth?
 2         Q. What did Hancock say to you?                     2         A. Yeah. We just talked, because of the
 3         A. He would handle it. That was it.                 3   situation, it was like we didn't want to have an
 4         Q. Did he say, well, that's not -- Sergeant,        4   aggressive action. We just wanted to get in there,
 5   with all due respect, that's not the plan, I'm the        5   get out of there, and leave if he was there.
 6   captain, and we're going to do something different?       6             During the course -- and I don't know if
 7         A. Nope.                                            7   this means anything. During the course of when we
 8         Q. Did he acknowledge that that was the             8   first started realizing that we were going to have to
 9   plan?                                                     9   evict Martin Wirth again, I would have the deputies go
10         A. Did he acknowledge that what was the            10   by and see if Martin Wirth was living there. I had
11   plan, knock on the door?                                 11   asked the law firm to check to see if there was any
12         Q. Yes. Knock on the door and then we're           12   power or phone there. And from what I remember, the
13   going to leave if he doesn't just come out               13   young lady told me she couldn't find anything. So the
14   voluntarily.                                             14   only thing we had on it was that he was living there
15         A. He said, yeah, he understood what we had        15   and using firewood to keep him warm in February.
16   planned.                                                 16         Q. Okay. So any other conversations -- so
17         Q. Okay.                                           17   it sounds like your conversation with Hancock was
18         A. Whether he was going to do it or not, and       18   approximately 6 a.m. or a little bit before 6 a.m. on
19   he's the captain. I'm the sergeant, you know.            19   February 24?
20         Q. Okay. During that conversation --               20         A. It would have been a little after.
21         A. It was real brief.                              21         Q. A little after?
22         Q. Do you know if that conversation was            22         A. Yeah, maybe five, ten minutes.
23   before or after their, quote, unquote, briefing at the   23         Q. Did you have any other conversations with
24   Bailey substation?                                       24   Hancock on February 24?
25         A. No. That would have been before, because        25         A. Not that day.

                                                       134                                                           136
 1   if I remember correctly, he called me not too long        1        Q. Not that day?
 2   after 6 a.m. Because I talked to Nate probably about      2        A. Right.
 3   10 till 6:00, somewhere in there. And then he would       3        Q. Not before or after the briefing other
 4   have called me, because I think -- I'm not sure, but I    4   than the one you just described?
 5   think he called me from the Bailey substation, because    5        A. Right, because after the incident
 6   he was not at the office, Hancock.                        6   occurred, he was transported to the hospital.
 7          Q. So you said you talked to Nate and Nate         7        Q. Hancock was?
 8   said he was scared, but was that a different              8        A. Yes.
 9   conversation?                                             9        Q. So you didn't see him on scene?
10          A. That was a conversation after --               10        A. I did not.
11          Q. The briefing?                                  11            MR. SISSON: Okay. So it's 12:02. Why
12          A. -- the briefing or when the -- I don't         12   don't we take a one-hour lunch break and we'll see you
13   know when the briefing was. Okay. But it was after I     13   back a little after 1:00.
14   called Nate about why other deputies were showing up.    14            (Recess taken, 12:02 p.m. to 1:02 p.m.)
15          Q. So your conversation with Hancock is           15        Q. (BY MR. SISSON) So still under oath.
16   before you have any knowledge of other deputies          16        A. Yes.
17   starting to go to the scene?                             17        Q. So I'm getting near the end of my stuff
18          A. Yes.                                           18   and then these guys will probably take a bite at the
19          Q. So in this conversation, you reaffirm the      19   apple. Okay. Let's move forward here. I think we
20   plan, which was to knock on the door and then leave?     20   talked about the three conversations you had with
21          A. Right.                                         21   Captain Hancock prior to the eviction, prior to our
22          Q. And Hancock seemed to --                       22   lunch break. Do you recall those?
23          A. Seemed like he was on board with it.           23        A. I recall two of them. I recall the one
24          Q. Seemed like he was on board with it. And       24   on like the 25th, the morning of the 24th. When was
25   then you, again, articulated the threat of Martin        25   the other one?

                                                                                                  34 (Pages 133 to 136)

                                        Hunter + Geist, Inc.
                                          EXHIBIT
                      scheduling@huntergeist.com    6
                                                 * 303-832-5966 * 800-525-8490
Case No. 1:16-cv-03079-MSK-NRN Document 60-6 filed 05/04/18 USDC Colorado pg 9 of
                                       9 TONJES
                               WELLES E.

                                                                             348


                               REPORTER'S CERTIFICATE

             STATE OF COLORADO              )
                                            ) ss.
             CITY AND COUNTY OF DENVER      )

                          I, Darcy Curtis, Registered Professional
             Reporter and Notary Public ID 20064016972, State of
             Colorado, do hereby certify that previous to the
             commencement of the examination, the said WELLES
             TONJES was duly sworn by me to testify to the truth in
             relation to the matters in controversy between the
             parties hereto; that the said deposition was taken in
             machine shorthand by me at the time and place
             aforesaid and was thereafter reduced to typewritten
             form; that the foregoing is a true transcript of the
             questions asked, testimony given, and proceedings had.

                          I further certify that I am not employed
             by, related to, nor of counsel for any of the parties
             herein, nor otherwise interested in the outcome of
             this litigation.

                          IN WITNESS WHEREOF, I have affixed my
             signature this 27th day of September, 2017.

                         My commission expires May 2, 2018.


             __X__ Reading and Signing was requested.

             _____ Reading and Signing was waived.

             _____ Reading and Signing is not required.




                                   EXHIBIT 6
